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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )             CR. NO. 06-00198 SOM
                              )
               Plaintiff,     )             ORDER GRANTING IN PART AND
                              )             DENYING IN PART BRUNN’S
          vs.                 )             MOTION TO SUPPRESS; ORDER
                              )             DENYING TERRAGNA’S MOTION TO
KEVIN BRUNN (05);             )             SUPPRESS
MICHA TERRAGNA (06),          )
                              )
               Defendants.    )
_____________________________ )

     ORDER GRANTING IN PART AND DENYING IN PART BRUNN’S MOTION TO
        SUPPRESS; ORDER DENYING TERRAGNA’S MOTION TO SUPPRESS

I.          INTRODUCTION

            Defendants Micha Terragna and Kevin Brunn have filed

separate motions to suppress evidence (Docket Nos. 130 and 132),

claiming their Fifth Amendment rights were violated when they

were not informed of their Miranda rights before what they say

were custodial interrogations.           The court grants Brunn’s motion

in part and denies it in part.           The court suppresses the

statements Brunn made contemporaneously with the search of his

person pursuant to a search warrant.           The court denies the

remainder of his motion, and denies in full Terragna’s motion to

suppress.

II.         FINDINGS OF FACT

            This court received oral testimony on February 7, 2008.

In an effort to rule promptly on the merits and to avoid the

burden on the court’s over-extended court reporters, the court

did not request and therefore does not have final transcripts of
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the live testimony, although the court has reviewed “rough”

unedited copies of those transcripts.             Therefore, in referring to

that testimony in these findings of fact, this court is unable to

give exact page and line citations to the testimony.                 Based on

the live testimony and the exhibits received in evidence, the

court finds the following by a preponderance of the evidence.

             A.    Special Agent (“S.A.”) Michael McDonald,

S.A. Jason Cherry, S.A. Ty Cook, S.A. Patrick O’Brien, and

Honolulu Police Department Deputy Chief Michael Tucker testified

on behalf of the Government.       All of the Government’s witnesses

testified credibly.      In particular, S.A. McDonald appeared to the

court to be consistently taking great care not to overstate what

he remembered, conceding even things possibly unfavorable to the

Government.    For example, although McDonald testified that, when

the officers arrived at the Brunn/Terragna residence to execute

the warrants, a third person was in the front of the house,

McDonald admitted that he did not remember whether that third

person did or did not remain at the property until the agents

left.   McDonald also readily admitted that someone might have

told Brunn and Terragna that they were not to stand together

while the agents conducted the searches.              When the court asked

McDonald to be specific about whether he told Brunn and Terragna

whether they were free to leave, McDonald did not exaggerate what




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he had said to them.        McDonald’s care and attention to accuracy

leads the court to greatly credit his testimony.

             B.    Daniel Gomes and Patrick Kawai testified on

behalf of Brunn and Terragna.        The court does not doubt that both

witnesses were trying to accurately state what occurred on May

31, 2005.    Gomes’s memory of those events, however, appears to be

somewhat clouded.        At times, Gomes gave a very detailed

description of the facts.        For example, Gomes was able to testify

with considerable precision about the number of feet a person was

away from him.     At other times, however, Gomes inexplicably could

not remember any details whatsoever.              For example, Gomes could

not remember anything about the appearance of the law enforcement

officials he saw on May 31, 2005.             Gomes also seemed prone to

exaggeration and dramatization, although the court has no reason

to think that was deliberate on his part.                He was the only

witness who dramatically testified that law enforcement officials

entered the property with the muzzles of rifle-type guns pointing

upwards, and the only witness who claims that Brunn’s arm was

forcefully held behind his back.             Kawai, who was closer to Brunn

at the time, noted no such action.             For his part, Kawai said

Terragna was forcefully frisked, calling that action a “mugging.”

The court does not doubt the sincerity of Kawai’s testimony, but

questions its accuracy in light of Gomes’s failure to note a

“mugging,” even though Gomes was far closer to Terragna at the


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time.   In short, while the court does not think Gomes or Kawai

was lying, the court discounts the accuracy of some of their

recollections.        This is particularly so when the testimony of

one of the two seems implausible when compared with the testimony

of the other.

                C.   On March 31, 2005, Magistrate Judge Barry M.

Kurren signed a search warrant for the person of Kevin Brunn, his

residence, located in Waipahu, Hawaii, and his 2000 black

Chevrolet SUV.1      See Search Warrant, Misc. No. 05-0232, of which

this court takes judicial notice; Testimony of S.A. Michael

McDonald.       At the same time, Magistrate Judge Kurren signed a

search warrant for the person of Brunn’s then-girlfriend (now

wife) Micha Terragna and her residence, which was the same as

Brunn’s.    See Search Warrant, Misc. No. 05-0233, of which this

court takes judicial notice; McDonald Test.                  The FBI wanted to



            1
           Because Terragna’s Motion (Docket No. 130) and the
Government’s Opposition and Exhibits (Docket No. 143) contain
personal information (addresses and social security numbers), the
Clerk of Court is ordered to immediately seal those documents.
No later than five working days from the date this Order is
filed, counsel for Terragna and counsel for the Government are
ordered to file new versions of those documents with this court,
with the personal information redacted from the body of the
documents, as well as from the exhibits. Counsel for Terragna
and the Government should attach to the redacted documents a
cover sheet indicating what type of information was redacted from
the document and/or exhibits, as well as identifying the
corresponding sealed document. This process furthers one of the
goals of the E-Government Act of 2002, Public Law 107-347,
Section 205(c)(3), and protects the public’s right of access to
this court’s files.

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search for documents related to chicken-fighting operations, to

examine and search Brunn’s and Terragna’s cell phones, and to

collect evidence of payment(s) of money to them from John

Saguibo.    The search warrants allowed law enforcement officials

to search all other motor vehicles located at the residence at

the time of the search.      See Search Warrants, Misc. Nos. 05-0232

and 05-0233.

             D.    On March 31, 2005, Brunn was an officer with the

Honolulu Police Department.       Testimony of Deputy Chief Michael

Tucker.    Brunn and Terragna were being investigated in connection

with a chicken-fighting gambling operation.                  See McDonald Test.

             E.    On the afternoon of March 31, 2005, as part of

their investigation of the gambling operation, agents had been

following John Saguibo.      The Government had evidence from a

wiretap tying Saguibo to a chicken-fighting gambling operation.

Agents saw Saguibo driving to the Brunn/Terragna residence.

After Saguibo left the residence, agents arrested and questioned

him.   Saguibo told them he had just dropped off a package at the

Brunn/Terragna residence.       See id.

             F.    Ten law enforcement agents then went to Brunn and

Terragna’s house to execute the warrants.               These law enforcement

personnel included an eight-person FBI search team led by S.A.

McDonald, who at that time had been an FBI agent for 2 years and

9 months.    Also present were a female FBI analyst, Susan Ogawa,


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and Honolulu Police Department Assistant Chief, now Deputy Chief,

Michael Tucker.     Ogawa and Tucker did not participate in the

execution of the search warrants.

             G.    Tucker was present at the FBI’s request because

Brunn was an HPD officer and in possession of a firearm.                  The FBI

thought that the presence of an HPD official like Tucker and a

statement by that official that the people coming onto Brunn’s

property were law enforcement officials might make it more likely

that Brunn would respond peacefully.             See McDonald Test.; Tucker

Test.

             H.    The search team arrived at the Brunn/Terragna

property at approximately 6:05 p.m.             As the team approached the

residence, some of the FBI agents had their handguns in holsters,

some had their handguns out and pointed at the ground, and some

had semi-automatic rifles pointed at the ground.                 See McDonald

Test. (indicating that some of the agents had their weapons

drawn); Testimony of Jason Cherry (stating that he initially had

his handgun drawn, but that he reholstered it); Testimony of

Patrick O’Brien (indicating that he had a M4 Carbine semi-

automatic rifle with its muzzle pointing downward); Testimony of

Patrick Kawai (indicating that the officers had handguns in their

holsters and long guns, which he identified as MP5s, with their

muzzles pointed at the ground); but see Testimony of Daniel Gomes




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(indicating that the officers had rifles with their muzzles

pointed in the air, as well as handguns).

             I.    Brunn and Terragna were in the front of the

house, near the carport area.       As S.A. McDonald and then-

Assistant Chief Tucker approached the gate to the property, S.A.

McDonald told Brunn and Terragna that he had search warrants,

that neither Brunn nor Terragna was under arrest, and that

neither would be in custody when law enforcement personnel left.

Although he may have thought that the import of his statement was

that Brunn and Terragna would be free to leave while the house

was searched, S.A. McDonald did not remember whether he expressly

told Brunn and Terragna that at that time.                   Brunn and Terragna

were shown the search warrants and given a chance to read them.

See McDonald Test.; Cherry Test.

             J.    It is undisputed that neither Brunn nor Terragna

was read or told of Miranda rights at any time during the

execution of the search warrants.            See McDonald Test.

             K.    It is unclear who opened the gate.               See, e.g.,

McDonald Test. (indicating that someone opened the gate).                   The

gate was, however, opened, and then-Assistant Chief Tucker spoke

with Brunn for 30 seconds to one minute.              See id.      Tucker told

Brunn that the agents had a warrant, that he had read the

warrant, and that it appeared valid.             Tucker told Brunn to “be

cool” and to cooperate with the warrant.              See Tucker Test.


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Tucker said he did not tell Brunn to otherwise cooperate with the

FBI or to answer the FBI agents’ questions.                  Tucker also said he

did not tell Brunn that Brunn could be fired if he failed to

answer the agents’ questions.       See id.         Having observed Tucker on

the witness stand, this court found Tucker highly credible.

             L.    Patrick Kawai, who lives near Brunn, was at

Brunn’s home helping install some windows when the agents

arrived.    Kawai says he overheard a Honolulu Police Department

officer, presumably Tucker, tell Brunn, “You will cooperate with

this investigation fully.”       See Kawai Test.             While Kawai appeared

to this court to be truthfully relating his perception of the

events, he may not have been in a position to clearly apprehend

what Tucker said to Brunn.       Kawai testified that he was

approximately 8 to 10 feet from Brunn.              Kawai said he did not

hear that officer tell Brunn to “Be cool” or that he had reviewed

the warrant and that it appeared valid.              Id.      The accuracy of

Kawai’s recollection about cooperation is therefore in doubt.

             M.    While Tucker was speaking with Brunn, Terragna

was directed to stay near the fence in the front yard.                   Gomes,

who lived next door and came out of his house to see what was

going on at the Brunn/Terragna home, testified that an agent told

Terragna to “stay here.”      See Testimony of Daniel Gomes.

             N.    While Tucker was talking with Brunn, Brunn may or

may not have been frisked.       See McDonald Test. (stating that he


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did not frisk Brunn); Cherry Test. (stating that he did not touch

Brunn, but that he saw S.A. McDonald pat down Brunn); Testimony

of Ty Cook (noting that he did not remember McDonald patting down

Brunn); Tucker Test. (stating that, as he was talking to Brunn,

S.A. McDonald patted down Brunn’s front pants pockets).                  S.A.

McDonald says that he merely asked Brunn to lift his t-shirt so

that he could see if Brunn had a weapon in his waistband.                  S.A.

McDonald asked Brunn where Brunn’s service handgun was located,

and Brunn told McDonald that it was in his truck.                 Both S.A.

McDonald and S.A. Cherry told Brunn not to go near Brunn’s truck.

See McDonald Test.; Cherry Test.            Brunn was not handcuffed and

was, at that time, in the front-lawn area near the carport.                   See

McDonald Test.

             O.    At approximately 6:10 p.m. on March 31, 2005,

agents announced something to the effect of “FBI, FBI, we’re

coming in” and entered the house.            S.A.s McDonald, Cherry, and

Cook remained outside.      See McDonald Test.; O’Brien Test.              The

agents conducted a protective sweep of the house.                 At

approximately 6:25 p.m., the agents concluded that the house was

“secure.”    See McDonald Test.

             P.    S.A. McDonald told Brunn that, pursuant to the

search warrant, he needed to search Brunn’s person.                 See McDonald

Test.   It is undisputed that, until the search of Brunn’s person

was completed, Brunn was not free to leave the premises.                  See


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 McDonald Test. (indicating that, until the agents seized items

 from Brunn’s person, McDonald would not have let Brunn leave the

 premises); Cherry Test. (indicating that before Brunn was

 searched, Brunn was not free to leave).           S.A. McDonald told Brunn

 that, after he was searched, he would be free to leave or stay so

 long as he did not interfere with the search.             See McDonald

 Test.; Cherry Test.     Brunn told McDonald that he wanted to stay.

 See Cherry Test.

              Q.    S.A. McDonald told Brunn that McDonald knew that

 Saguibo had dropped off money.         McDonald told Brunn that he

 needed to find the money and Brunn’s cell phone, and that it

 would be easier if Brunn would just hand them over, rather than

 making the agents search for them.          Brunn then took $820 in cash

 and his cell phone out of his pants pockets and handed the items

 to McDonald.      Had Brunn not been cooperative, McDonald would have

 physically searched Brunn pursuant to the warrant and would have

 found the cell phone and the money.         See McDonald Test.

              R.    S.A. McDonald talked to Brunn for about three

 minutes.   Upon receiving the money, McDonald asked Brunn whether

 there was an envelope.      Brunn said no.      After the agents counted

 the money that Brunn handed them, McDonald asked whether the

 money was what Saguibo had recently delivered and whether it was

 everything delivered.      Brunn said that it was. Brunn also said

 that the money Saguibo had given him was for chickens that had


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 been bought and that were to be trained for chicken fights.               See

 McDonald Test.

              S.    While McDonald was searching Brunn, Terragna was

 on the front lawn.      At some point, she was standing near the

 fence between her yard and Gomes’s property.             Gomes and Kawai

 recall that Terragna was holding her 10 month-old-baby, Keilim,

 when the agents arrived on her property.           See Gomes Test.; Kawai

 Test.   By contrast, none of the agents remembered seeing Terragna

 holding anything.

              T.    Gomes was particularly definite in his

 recollection.     He seemed to have a close relationship with Brunn

 and Terragna, as their son, a toddler at the time, was in the

 Gomes home when the agents arrived at the Brunn/Terragna

 property.    See Gomes Test.

              U.    According to Gomes, while Terragna was standing

 in her yard,      Terragna asked one or more agents whether she could

 hand her baby over the fence to Gomes, who was standing on his

 side of the fence observing what was happening on his neighbor’s

 property.     The agents allowed that, and Keilim was handed to

 Gomes over the fence.      Gomes said this occurred about fifteen

 minutes after the agents arrived at the property.             See Gomes

 Test.

              V.    After McDonald completed his search of Brunn,

 McDonald walked over to Terragna, while Brunn went to the


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 carport.   McDonald told Terragna that she was not under arrest,

 but that the agents needed to search her pursuant to the search

 warrant.   McDonald says that, because they did not have any

 female agents present (a female FBI analyst was present but was

 not trained to do searches), the agents did not frisk Terragna.

 See McDonald Test.      McDonald says that he merely asked Terragna

 to remove her windbreaker, and that he was satisfied from a

 visual search of her that she was not concealing any weapons.

 McDonald said at most he may have lifted Terragna’s shirt so that

 he could see her waistline.      See McDonald Test.         S.A. Cherry’s

 recollection was that neither he nor McDonald touched Terragna.

 See Cherry Test.

              W.   Kawai, a State of Hawaii deputy sheriff,

 testified otherwise.      According to Kawai, an agent “mugged”

 Terragna as she stood backed up against the fence in her yard.

 At the hearing, Kawai demonstrated what he meant by “mugging.”

 His demonstration indicated that someone placed hands on Terragna

 and made circular motions around the front of her body to feel

 what she may have had under her clothing, then encircled her body

 as if in a hug to feel the back of her torso.             See Kawai Test.

 Kawai recalled that Terragna had on her windbreaker at the time.

              X.   What was never explained was Gomes’s failure to

 see the “mugging” that Kawai described.           Gomes was standing on

 his side of the very fence that Kawai says Terragna was backed up


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 against.    Gomes testified that he was close enough to hear an

 agent tell Terragna to “stay here.”            Under those circumstances,

 Gomes should have seen any “mugging,” yet he testified to no such

 thing.

              Y.   McDonald says that, in addition to giving him her

 windbreaker, Terragna gave him her cell phone.             See McDonald

 Test.    Although Terragna was apparently talking the whole time,

 acting compliant and friendly, no party introduced any evidence

 as to what she said during her interaction with McDonald, which

 lasted just a couple of minutes.            See id.   Nor is there any

 evidence that McDonald or any agent asked her anything.

              Z.   McDonald’s search of and conversations with Brunn

 and Terragna occurred during the 6:10 to 6:25 p.m. period in

 which the agents were conducting the protective sweep of the

 house.    After he had searched Brunn and Terragna pursuant to the

 warrants, McDonald would have preferred to have Brunn and

 Terragna leave, so that they did not interfere with the search of

 the house that followed the protective sweep.             At some point, he

 reminded them that they could leave, although he could not recall

 whether, right after their persons were searched, he expressly

 told them they were “free to leave.”             McDonald did tell them

 that, until the agents were done with the initial protective

 sweep of the house, Brunn and Terragna could not enter it.               See

 McDonald Test.; Cherry Test.


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              AA.    Kawai said he was told to sit near Brunn in the

 carport.   He did not hear Brunn tell the agents anything about

 wanting to leave or stay.        Instead, Kawai was under the

 impression that neither he nor Brunn could leave, and Kawai said

 he and Brunn sat in the garage for the two hours or so it took

 the agents to complete all of their searches.                 Kawai recalled

 asking for permission to use the bathroom.                 See Kawai Test.

              BB.    Gomes also thought Brunn had to stay put.                He

 said he overheard agents tell Brunn to “stay here.”                  See Gomes

 Test.   Gomes also said he saw an agent restrain Brunn by holding

 Brunn’s arm behind his back.        Notably, Kawai, who was closer to

 Brunn than Gomes was, saw no such thing.             No agent testified that

 Brunn’s arm was held behind his back.            Compare, e.g., Cherry

 Test. (indicating that Brunn was not restrained), with Gomes

 Test. (indicating that Brunn was restrained with his arm behind

 his back).    Even though Gomes may have been sincere in stating

 his recollection, the court cannot help but question the accuracy

 of his recollection.

              CC.    Besides the infant that Terragna handed over the

 fence to Gomes and the toddler that was at Gomes’s house, Brunn

 and Terragna had a third child, a daughter, Keisha, who was a

 preteen or a teenager.        Keisha was at a park, and, at some point

 while the agents were executing the search warrants, was supposed

 to be picked up.        While Terragna was in her yard, the phone rang


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 two to three times.     See Gomes Test.; Kawai Test.; Cherry Test.

 This caused Terragna to tell one or more agents that her daughter

 was calling and needed to be picked up.           Gomes says he overheard

 an agent tell Terragna that she could not leave.              Id.   Appearing

 to be quoting the agent’s exact language, Gomes spoke in a local

 vernacular unlike the speech used by the agents who testified.

 While there were other agents at the house, the court has no

 evidence that any agent would have used the vernacular that Gomes

 used.

              DD.    Kawai said that Brunn also told agents he wanted

 to pick up his daughter but was told that he could not leave.

 See Kawai Test.; see also Cherry Test.          While the timing is

 unclear, Gomes and Kawai appear to have been describing

 conversations that occurred fairly early during the period the

 agents were on the Brunn/Terragna property.              Gomes tried to

 estimate the timing, and his estimates suggest that the

 discussions about picking up a daughter occurred either around

 the time the search of Terragna’s person was being completed, or

 at least before any vehicle search.         Gomes says that he agreed to

 pick up the girl, and an agent came onto his driveway and ordered

 him to go directly to the park, pick up the girl, and drive

 directly back.     He says he left to do that.           See Gomes Test.

              EE.    After Terragna was searched, she asked and was

 allowed to go into the house to get milk for the ten-month-old


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 baby.   See McDonald Test.; Cook Test.             She then spent part of the

 time in her living room with the infant.              See Testimony of

 Patrick O’Brien.        However, she also freely walked in and out of

 the house.    See McDonald Test.; O’Brien Test.             It appears that,

 at some point, Gomes returned the baby to Terragna, as agents

 testified that they saw the child sleeping in the house at times

 and also being fed by Terragna in the living room.               See McDonald

 Test.; Cook Test.

              FF.     S.A. Cook says that he was the evidence

 custodian for the search.        While Cook was in the house, Terragna

 made numerous unsolicited statements about chickens and chicken

 fighting.    See Cook Test.      S.A. O’Brien also reported that

 Terragna was very talkative.

              GG.     S.A. O’Brien found a document in the kitchen.

 The document, received as Exhibit 3 at the suppression hearing,

 included a drawing of a chicken-fighting area.               At about 7:10

 p.m., about sixty minutes after the start of the protective

 sweep, S.A. McDonald showed the document to Terragna and asked

 her about it.      See O’Brien Test.          Terragna’s statements are

 summarized in Exhibit 5.        S.A.s O’Brien, Cherry, and Cook

 testified that most of the statements made by Terragna were made

 well after the search of Terragna’s person was completed.

 Although Terragna appears to have made some statements to the

 agents “minutes” after her search, see Cook Test., there is no


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 evidence that Terragna was questioned while she was being

 searched or as the search was being completed.

 III.       CONCLUSIONS OF LAW.

              A.   In Miranda v. Arizona, 384 U.S. 436 (1966), the

 Supreme Court established the rule that, when a person is “in

 custody,” procedural safeguards must be afforded that person

 before the person is questioned.            Otherwise, the prosecution may

 not use what it learns through its interrogation.             Id. at 444.

 This rule was premised on the Fifth Amendment’s privilege against

 self-incrimination.     The Supreme Court reasoned that the

 privilege against self-incrimination is protected by adequately

 and effectively advising an individual of his or her rights.               See

 id. at 467.

              B.   The initial question here is whether Brunn and/or

 Terragna underwent “custodial interrogation” without having been

 advised of their Miranda rights.            Whether they were “in custody”

 while being questioned by the agents turns on all the

 circumstances of the questioning.           The ultimate inquiry is

 whether there was a “formal arrest or restraint on freedom of

 movement of the degree associated with a formal arrest.”

 California v. Beheler, 463 U.S. 1121, 1125 (1983); United States

 v. Norris, 428 F.3d 907, 912 (9th Cir. 2005) (“A person is in

 custody only where there is a formal arrest or restraint on

 freedom of movement of the degree associated with a formal


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 arrest.”); United States v. Luther, 521 F.2d 408, 410 (9th Cir.

 1975) (“By ‘custodial interrogation’ the Miranda Court meant

 questioning initiated after a person was taken into custody or

 otherwise deprived of his freedom in any significant way.”).

              C.   “The procedural protections afforded by Miranda .

 . . are designed to secure an accused’s privilege against

 self-incrimination and are triggered only in the event of a

 custodial interrogation.        A defendant is in custody when, based

 upon a review of all the pertinent facts, a reasonable innocent

 person in such circumstances would conclude that after brief

 questioning he or she would not be free to leave.”               United States

 v. Wauneka, 770 F.2d 1434, 1438 (9th Cir. 1985) (quotations

 omitted); accord United States v. Hernandez, 476 F.3d 791, 796

 (9th Cir.) (“An individual is in custody if considering the

 circumstances surrounding an interrogation a reasonable person

 felt he or she was not at liberty to terminate the interrogation

 and leave.” (quotation and ellipses omitted)), cert. denied 128

 U.S. 265 (2007).        This is an objective, rather than a subjective

 standard.    See Stansbury v. California, 511 U.S. 318, 323 (1994)

 (“the initial determination of custody depends on the objective

 circumstances of the interrogation, not on the subjective views

 harbored by either the interrogating officers or the person being

 questioned”); United States v. Kim, 292 F.3d 969 (9th Cir. 2002)

 (same).


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              D.   Facts relevant to the determination of whether a

 person is in custody “‘include the language used by the officers,

 the physical characteristics of the place where the question

 occurs, the degree of pressure applied to detain the individual,

 the duration of the detention, and the extent to which the person

 was confronted with evidence of guilt.’”            United States v.

 Hernandez, 476 F.3d 791, 796 (9th Cir. 2007) (quoting United

 States v. Butler, 249 F.3d 1094, 1099 (9th Cir. 2001)); accord

 United States v. Hayden, 260 F.3d 1062, 1066 (9th Cir. 2001)

 (“Factors relevant to whether an accused is ‘in custody’ include

 the following: (1) the language used to summon the individual;

 (2) the extent to which the defendant is confronted with evidence

 of guilt; (3) the physical surroundings of the interrogation;

 (4) the duration of the detention; and (5) the degree of pressure

 applied to detain the individual.”).

              E.   California v. Beheler, 463 U.S. 1121 (1983), is

 instructive here.       In that case, the Supreme Court held that

 Miranda warnings were not required.          Beheler and others had

 attempted to steal hashish from another person who was killed

 when she refused to give up the hashish.            Beheler called the

 police, telling them that his step-brother, Wilbanks, had killed

 the woman and that other acquaintances had hidden the gun used in

 Beheler’s back yard.       Later that evening, Beheler voluntarily

 agreed to go to the police station, where he agreed to talk to


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 the police about the murder.      He was told that he was not under

 arrest and was not read his Miranda rights.              Id. at 1122.    In

 concluding that the police were not required to give Beheler his

 Miranda rights under those circumstances, the Supreme Court noted

 that a “coercive environment,” by itself, is insufficient to

 convert a noncustodial situation into a custodial one.               Id. at

 1124.   The Court reasoned that every interview of suspects by

 police officers has a coercive aspect to it.              Rather than

 focusing on the location of the police interview (the police

 station), the Court noted that “the ultimate inquiry is simply

 whether there is a formal arrest or restraint on freedom of

 movement of the degree associated with a formal arrest.”                Id. at

 1125 (quotations omitted).

              F.   In United States v. Kim, 292 F.3d 969 (9th Cir.

 2002), the Ninth Circuit determined that a co-owner of a store

 was “in custody” for Miranda purposes when she voluntarily went

 to her store to check on her son, discovered a number of police

 cars outside of it, went into the store and had the door locked

 behind her, and was separated from her husband and son.               Although

 she voluntarily went to her store, she did not do so for the

 purpose of subjecting herself to police questioning.               The Ninth

 Circuit distinguished Beheler, noting that Beheler had

 voluntarily gone to the police station with the understanding

 that he would be questioned there.          In such a situation, the


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 Ninth Circuit reasoned that the person undergoing voluntary

 questioning would likely expect that he or she could terminate

 the encounter with the police.         The co-owner of the store, on the

 other hand, had no intention of subjecting herself to questioning

 when she went to the store.      She was isolated from her husband

 and son with the door locked behind her, and the Ninth Circuit

 concluded that an objective person in that position would not

 have felt free to leave.      Id. at 974-75.

              G.   The Government cites Muehler v. Mena, 544 U.S. 93

 (2005), and Michigan v. Summers, 452 U.S. 692 (1981), for the

 proposition that, pursuant to a search warrant, law enforcement

 officials may constitutionally detain persons found on the

 premises while the premises are searched.           These cases are

 inapposite.    They hold that the Fourth Amendment was not violated

 by the searches in issue.      Brunn and Terragna are not bringing a

 Fourth Amendment challenge to the Government’s detention of them

 pursuant to the search warrants.            They are instead arguing that,

 because they were detained, the Government violated the Fifth

 Amendment by interrogating them without informing them of their

 Miranda rights.

              H.   The Ninth Circuit has rejected an argument

 similar to the one the Government makes here in connection with

 Muehler v. Mena and Michigan v. Summers.           See Kim, 292 F.3d at

 976 (“whether an individual detained during the execution of a


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 search warrant has been unreasonably seized for Fourth Amendment

 purposes and whether that individual is ‘in custody’ for Miranda

 purposes are two different issues”).

              I.   It is undisputed that, until Brunn and Terragna

 were searched pursuant to the search warrants for their persons,

 they were not free to leave.      See McDonald Test.; Cherry Test.

 Although both Brunn and Terragna were told at that time that they

 would not be arrested that evening, a reasonable person in their

 position would have felt that he or she could not leave before

 being searched.     The search warrants expressly allowed the agents

 to seize and search Brunn and Terragna.           Brunn and Terragna had

 no choice in the matter, and it cannot be said that either

 voluntarily presented himself or herself to law enforcement

 officials for questioning.      Certainly, no objectively reasonable

 person would think that, in light of the search warrants allowing

 searches of their person, the agents would simply allow Brunn

 and/or Terragna to leave the premises without first being

 searched.

              J.   Although Brunn and Terragna were in their own

 front yard and had their movements restricted for a short time

 before the searches of their person were completed, up to eight

 armed FBI agents, one FBI analyst, and a Honolulu Police

 Department officer were on their property.               Both Brunn and

 Terragna were checked for weapons.          Agent McDonald told Brunn


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 that he needed to recover the money that Saguibo had just dropped

 off and told him that it would be easier if Brunn just gave him

 the money, rather than making McDonald search for it.               Brunn was

 thus confronted with evidence of his commission of a crime.

 Given the totality of the circumstances, this court concludes

 that, until Brunn and Terragna were searched, both Brunn and

 Terragna were in custody, as there was a restraint on their

 “freedom of movement of the degree associated with a formal

 arrest.”    Beheler, 463 U.S. at 1125.

              K.   The court has located no factually similar case

 in which a person challenged a lack of Miranda warnings in

 connection with the questioning of the person while a search

 warrant for that person was being executed.              Nevertheless, the

 court concludes that Brunn was “in custody” when he was being

 questioned by S.A. McDonald contemporaneously with the execution

 of the search warrant for his person.          Consistent with Ninth

 Circuit case law, this court concludes that Brunn was “in

 custody” while his person was searched because a reasonable

 person confronted with the totality of the facts presented that

 evening would not have felt free to terminate the questioning and

 leave while the search warrant for Brunn’s person was being

 executed.    See Hernandez, 476 F.3d at 796; Kim, 292 F.3d at 974-

 75.




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              L.   Although the custody determination is based on an

 objective standard, this court’s custody determination is

 buttressed by the agents’ testimony that they would not have

 allowed Brunn to leave before they finished searching his person

 pursuant to the warrant.

              M.   At the same time, or at nearly the same time, as

 he was searching the person of Brunn, McDonald asked Brunn

 questions.    The failure to give Brunn his Miranda rights before

 questioning him during the search of his person was a Fifth

 Amendment violation.      McDonald specifically told Brunn that

 agents wanted whatever Saguibo had dropped off.             When Brunn

 handed over $820 in cash, McDonald followed up by asking whether

 there was an envelope that went along with the cash.              Brunn said

 there was not.    After the agents counted the money that Brunn

 handed them, McDonald asked whether the money was what Saguibo

 had recently delivered and whether it was everything.              Brunn

 indicated that it was.      Brunn also stated that the money Saguibo

 had given him was for chickens that were purchased for chicken

 fighting.    See McDonald Test.

              N.   Although some testimony suggested that the search

 was completed immediately before some of the questions were

 asked, the gap between the completion of the search and the

 questioning was so small that any reasonable person would have

 been unable to disentangle the questioning from the search of


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 Brunn’s person.     Just as Brunn was “in custody” while his person

 was searched, he was “in custody” when he answered these specific

 questions and should have been provided with his Miranda rights.

 Given the absence of any statement as to Brunn’s Miranda rights,

 these statements are suppressed as violations of his Fifth

 Amendment right against self-incrimination.

              O.   However, the remaining statements made by Brunn,

 purportedly set forth in Exhibit 4, are not suppressed.              Those

 statements were made sufficiently after Brunn’s person had been

 searched that a reasonable person would have known that the

 custody accompanying the search of his person had ended.               Brunn

 was told that he did not have to stay on the premises while the

 house was searched.

              P.   Even if, as Gomes and Kawai testified, Brunn was

 told to stay on the premises, that direction came early in the

 process.   To the extent that statement related to a request to

 pick his daughter up from the park, it appears from the timing to

 have related to a restraint on his freedom in connection with

 either the search of Brunn’s person or the search of any vehicle

 that he might have needed to use to pick up his daughter.               If it

 was the former, then the restraint was limited in time and ended

 when the search of his person ended.          If it was the latter, then

 that did not preclude Brunn from walking off his property.               The

 court credits S.A. McDonald’s repeated assertions that he told


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 Brunn as he entered the property that Brunn was not being

 arrested and that, after he completed the search of Brunn’s

 person (even if not immediately after), he reminded Brunn that he

 could leave.

              Q.   Unlike Brunn, Terragna does not appear to have

 been asked questions during the search of her person.              While she

 was indisputably in custody until the search of her person was

 completed, she made no statements subject to suppression until

 after she was searched and told she was free to leave.              Her

 statements were not made while she was “in custody.”

              R.   The court is not persuaded that the circumstances

 would have led a reasonable person in Terragna’s position to

 think she was detained even after her person was searched.

 Terragna was allowed to converse with Gomes over the fence and to

 hand him her baby and then have her baby returned by Gomes to

 her.   She was allowed to arrange for her daughter to be picked up

 from the park.    She went in and out of the house, got milk for

 her baby, and fed her baby.      These are not the actions of someone

 who is detained during a search, particularly when the person has

 been told that she is free to leave.

              S.   The statements made by Brunn and Terragna after

 their persons were searched are not suppressed, as neither Brunn

 nor Terragna was in custody after being searched, and as they

 were told that they could leave.


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              T.   Although the court is suppressing some of Brunn’s

 statements based on a Miranda violation, the Government will be

 allowed to use those statements to impeach Brunn if he takes the

 stand and testifies in contradiction to the statements he made at

 the time his person was searched.            Nothing in the record

 indicates that his statements are unreliable.              To the contrary,

 it appears that his statements were voluntarily made.               Courts

 have held that, even when a defendant’s statement is suppressed

 based on a constitutional violation, it is still admissible for

 impeachment or rebuttal if the defense offers evidence contrary

 to the statement.       See, e.g., Mincey v. Arizona, 437 U.S. 385,

 397-98 (1978) (noting that statements taken in violation of the

 Fifth Amendment Miranda right are admissible for impeachment

 purposes if the statement is reliable); Harris v. New York, 401

 U.S. 222, 225-26 (1971) (holding that the Fifth Amendment right

 against self-incrimination does not preclude the use of evidence

 obtained in violation of Miranda for impeachment purposes);

 Pollard v. Galaza, 290 F.3d 1030, 1033 (9th Cir. 2002) (“Although

 a statement, taken in violation of Miranda, may not be used

 substantively in the prosecution’s case-in-chief, such a

 statement, if voluntary, may be used for impeachment should the

 Defendant testify inconsistently.”).

              U.   The court does not suppress the physical evidence

 obtained from Brunn, Terragna, or their residence.              That evidence


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 was obtained via the search warrants, and neither Brunn nor

 Terragna has challenged the validity of the warrants.              It cannot

 be said that that evidence was the “fruits” of the illegal

 questioning of Brunn.      The search warrants were obtained based on

 probable cause that law enforcement personnel had before Brunn

 was questioned while “in custody.”          The search warrants were

 therefore an independent source for the evidence.             See Segura v.

 United States, 468 U.S. 796, 799 (1984) (“we hold that the

 evidence discovered during the subsequent search of the apartment

 the following day pursuant to the valid search warrant issued

 wholly on information known to the officers before the entry into

 the apartment need not have been suppressed as ‘fruit’ of the

 illegal entry because the warrant and the information on which it

 was based were unrelated to the entry and therefore constituted

 an independent source for the evidence”) and at 805 (evidence is

 not to be excluded “if police had an ‘independent source’ for

 discovery of the evidence”).      In any event, the physical evidence

 obtained is also admissible under United States v. Patane, 542

 U.S. 630, 643 (2004), which held that the Fifth Amendment does

 not require suppression of the physical fruits of a defendant’s

 unwarned, but voluntary statement.          Although Brunn’s statements

 made during his brief custodial interrogation violated his Fifth

 Amendment right against self-incrimination, those statements were

 made voluntarily.


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 IV.         CONCLUSION.

             Because Brunn was “in custody” when he was being

 searched and because he was not informed of his Miranda rights,

 the statements he made contemporaneously with being searched and

 in response to S.A. McDonald’s questions during or within seconds

 of the search of his person are suppressed.              That is, the

 Government may not use at trial any of the following statements

 made contemporaneously with the search of Brunn’s person:

             (1) Brunn’s statement, in answer to
             McDonald’s question about whether there was
             an envelope that went along with the money
             Brunn handed over, that there was no
             envelope.

             (2) Brunn’s statement, in response to
             McDonald’s question about whether the money
             was what Saguibo had recently delivered and
             whether it was everything, that it was.

             (3) Brunn’s statement, during or within
             seconds of being himself searched, that the
             money Saguibo had given him was for chickens
             purchased for chicken fighting.

             The court denies the remainder of the motions to

 suppress.    The totality of the circumstances indicates that, when

 Brunn and Terragna made the remaining statements discussed in




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 Exhibits 4 and 5, they had been released from custody and were

 free to leave.       Miranda warnings were therefore not required.

             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, February 19, 2008.




                                              /s/ Susan Oki Mollway
                                             Susan Oki Mollway
                                             United States District Judge




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 AND DENYING IN PART BRUNN’S MOTION TO SUPPRESS; ORDER DENYING TERRAGNA’S
 MOTION TO SUPPRESS




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